Case 2:04-CV-02759-SHI\/|-tmp Document 13 Filed 05/18/05 Page 1 of 2 Page|D 10

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

JAMES HULETT,
Plaintiff,

v. Cv. No. 04-2759-Ma

JO ANNE B. BARNHART,
Commissioner of Social Security,

Defendant.

JUDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AND ADJUDGED that, in accordance With the Order
docketed May 17, 2005, this action is remanded to the Commissioner.

APPROVYk// 5

SAMUEL H. MAYS, JR,
UNITED STATES DISTRICT JUDGE ROBERT R Dl.I.ROUO

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

